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  Ohio Woman, 3 Guards Died in Ambush on Convoy in Baghdad"/>
                                                The Washington Post


  Sunni Insurgent Group Asserts It Killed American Ohio
  Woman, 3 Guards Died in Ambush on Convoy in Baghdad

  By Ernesto Londoño and
  Joshua Partlow
  January 19, 2007

  BAGHDAD, Jan. 18 -- A Sunni insurgent group linked to the
  group al-Qaeda in Iraq asserted responsibility Thursday for the
  killing of an Ohio woman working in Baghdad who died
  Wednesday after her convoy was attacked, according to a posting
  on a Web site used by some Sunni groups.

  Andrea "Andi" Parhamovich, 28, of Perry, Ohio, who worked for
  the nonprofit National Democratic Institute, was killed along with
  three non-American security workers, according to a statement
  released by the institute.

  "There is no more sacred roll of honor than those who have given
  their last full measure in support of freedom," Madeleine K.
  Albright, the NDI chairman and former secretary of state, said in a
  statement. "Yesterday, in Iraq, Andrea Parhamovich and our
  security personnel were enshrined in that list. They were not the
  enemies of anyone in Iraq. They were there to help."

  The authenticity of the assertion of responsibility, signed by a
  spokesman for a group called the Islamic State in Iraq, could not
  be independently verified. The group released an 18-minute
  audiotape last year claiming support from tribal sheiks and
  previously independent insurgent groups.

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  Parhamovich is at least the fifth American civilian woman killed in
  Iraq since the 2003 U.S.-led invasion.

  She graduated from Marietta College in Ohio and held jobs in the
  Massachusetts governor's office, that state's Department of
  Economic Development and Air America Radio before arriving in
  Baghdad in September. She moved to Iraq to take a job at the
  International Republican Institute but left last month to join NDI.

  "An outgoing woman who made friends quickly, Andi wanted to
  use her education and skills as a communications specialist to
  help Iraqi political party leaders and parliamentarians develop
  strategies to reach out to voters and constituents," the
  organization said in the statement.

  NDI began operating in Baghdad in June 2003. It has worked to
  promote civic participation and strengthen the country's political
  parties, legislature and executive branch.

  The killing of Parhamovich occurred as Iraqi Prime Minister
  Nouri al-Maliki has been striving to show that his government has
  taken meaningful steps toward improving security.

  In an interview Wednesday, he highlighted what he described as a
  series of operations carried out in recent days that he said had led
  to the arrests of 430 fighters of the Mahdi Army militia, which is
  led by Shiite cleric Moqtada al-Sadr, one of Maliki's political
  supporters.

  A spokesman for Sadr acknowledged in an interview Thursday
  that 425 of his group's fighters had been arrested, but he disputed
  Maliki's assertion that the arrests occurred in recent days. The
  spokesman, Abdul Razak al-Nadawi, said the 425 include Mahdi

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  Army members arrested after a fierce battle in August 2004 in
  Najaf, a city south of Baghdad that has long been a Sadr
  stronghold. Since the beginning of 2006, the Iraqi government has
  arrested 96 people, the spokesman said.

  "These are exact numbers," he said. "We have a record because
  every one of those detainees there has a monthly salary" that goes
  to their families.

  Also Thursday, Iraqi and Iranian officials criticized the arrest of
  five men by U.S. forces last week at an Iranian facility in the
  northern Iraqi city of Irbil. Iraqi officials said the facility was in
  the process of becoming an accredited consular mission.

  Hassan Kazemi Qomi, Iran's ambassador to Iraq, said he had been
  told the five Iranian officials would be released in "coming days"
  and condemned the United States for arresting them. "There is a
  sovereign government in Iraq. Why are the Americans violating
  the sovereignty of Iraq?" asked Qomi, making his first public
  comments on the incident during a news conference.

  Iraqi Foreign Minister Hoshyar Zebari has said the Iranians were
  not accredited diplomats but worked in a liaison office performing
  consular services under the approval of the Kurdish regional
  government.

  Lou Fintor, a spokesman at the U.S. Embassy in Baghdad, said the
  arrests came after U.S. officials gathered intelligence linking the
  occupants of the facility to Iran's Revolutionary Guard Corps,
  which U.S. officials say targets coalition forces and incites
  sectarian violence.

  "We believe many of the activities taking place in this facility were

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  not consistent with normal diplomatic or consular functions,"
  Fintor said. U.S. officials have not identified the men, disclosed
  whether they have been charged or revealed where they are being
  held.

  Also Thursday, the U.S. military confirmed that it searched the
  Sudanese Embassy in Baghdad on Saturday. In a brief statement,
  the military said the search was part of an operation targeting
  havens for insurgents. Sudanese Embassy officials were not
  present during the search, and soldiers did not remove anything
  from the facility, according to a statement.

  A variety of violent acts in the capital were reported by the Iraqi
  Interior Ministry, including a car bomb that detonated Thursday
  morning in central Baghdad near a police patrol station, killing
  two policemen and four other people; the assassination of two
  university professors; and the explosion of three car bombs in a
  market in southern Baghdad, which killed three policemen and
  four other people.

  Staff researchers Meg Smith, Julie Tate and Robert E. Thomason
  in Washington and special correspondents Saad Sarhan and
  Naseer Nouri in Baghdad contributed to this report.


                                      ! 0 Comments

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